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 1    ZBS LAW, LLP
      Bradford E. Klein (SBN 259252)
 2    bklein@zbslaw.com
      Magdalena D. Kozinska (SBN 258403)
 3    mkozinska@zbslaw.com
      30 Corporate Park, Suite 450
 4    Irvine, CA 92606
      Telephone: 714.848.7920
 5    Facsimile: 714.908.2615
 6    Attorneys for Defendants
      RECOVCO MORTGAGE MANAGEMENT, LLC;
 7    PLANET HOME LENDING, LLC; and
      SPROUT MORTGAGE ASSET TRUST
 8

 9
                                 UNITED STATES DISTRICT COURT
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             NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
11
     VAHE TASHJIAN, an individual,                  Lead Case No. 5:19-cv-01536-EJD;
12                                                  consolidated with Case No.: 5:20-cv-
                                   Plaintiff,       08816-EJD
13
                     v.
14                                                  JOINT STIPULATION TO
     INVICTUS RESIDENTIAL POOLER-2A, a              CONTINUE OCTOBER 14, 2022
15   Delaware company, et al.,                      DISCOVERY CUTOFF AND
16                                 Defendants.      OTHER DEADLINES
17
                                                    Complaint Filed: 3/11/19
18   VAHE TASHJIAN, an individual,                  Consolidated Complaint Filed: 10/9/20
                                                    Trial Date: None Set
19                                 Plaintiff,
20                   v.
21   PLANET HOME LENDING, LLC, a
     Connecticut limited company, et al.,
22
                                   Defendants.
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 1    STIPULATION
 2             Defendants Recovco Mortgage Management, LLC (“Recovco”); Planet Home
 3    Lending, LLC (“Planet Home”); Sprout Mortgage Asset Trust, NewRez LLC fka
 4    New Penn Financial, LLC dba Shellpoint Mortgage Servicing (“Shellpoint”);
 5    Invictus Residential Pooler Trust 2A; Specialized Loan Servicing LLC (“SLS”); and
 6    Prestige Default Services, LLC (collectively, “Defendants”) and Plaintiff Vahe
 7    Tashjian (“Plaintiff”) (collectively, the “Parties”) hereby respectfully request an order
 8    continuing the discovery, motion, and other related deadlines contained in the current
 9    scheduling order (Dkt. 132). The Parties also request the upcoming Settlement
10    Conference with the magistrate scheduled for October 17, 2022 be continued. The
11    Parties’ request is made on the following grounds:
12             1.    On April 29, 2022, this Court entered a scheduling order enumerating the
13    current deadlines. Since that date, the Parties have conducted significant discovery,
14    including taking a number of depositions and issuing third-party subpoenas. Even
15    more are scheduled to take place later this week and next.
16             2.    The gravamen of Plaintiff’s claims in the consolidated cases arise from
17    the mortgage loan on Plaintiff’s property located at 901 Loyola Drive, Los Altos,
18    California, 94024 (the “Property”) that was entered into by Plaintiff and Recovco on
19    January 30, 2018 (the “Loan”).
20             3.    In February 2018, Plaintiff received notice from SLS that it was acting as
21    the Loan servicing agent.
22             4.    On May 4, 2018, Plaintiff received correspondence from Shellpoint
23    confirming that the Loan had been transferred to Shellpoint from SLS.
24             5.    Thereafter, Sprout became the beneficiary of the Loan and Planet Home
25    became the servicer.
26             6.    On August 2, 2022, the Loan was sold to a third-party who is not a party
27    to the case – ARCPE. After purchasing the Loan, ARCPE began its process of
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 1    reviewing the case file and background facts, and initially sought to obtain new
 2    counsel to represent Recovco, Sprout, and Planet Home. As a result, Blank Rome
 3    LLP withdrew/substituted out of these cases on or around August 24, 2022.
 4             7.    As ARCPE’s review of the case background and files has continued in
 5    good faith, it has come to the determination that: (1) additional time will be required
 6    for ARCPE’s principals and personnel to fully familiarize itself with the long and
 7    complicated history of the Loan at issue in these lawsuits, and (2) Blank Rome is the
 8    most appropriate trial counsel to represent Recovco, Sprout, and Planet Home given
 9    its experience and familiarity with the case. Given these developments, as well as the
10    impending case deadlines (including the current fact discovery cutoff of October 14,
11    2022), the Parties agree, subject to the Court’s approval, to continue the current dates
12    and deadlines to allow time for the re-substitution of Blank Rome, and so that Blank
13    Rome can reintegrate itself into the case and prepare for the remaining depositions.
14    Moreover, adjourning the settlement conference will allow ARCPE to assess any
15    potential settlement position (if any), which will not be possible given the current
16    October 17, 2022 date.
17             8.    As such, the Parties request a 45-day continuance of all dates and
18    deadlines.
19             9.    The current scheduling order contains a fact-discovery cut-off of
20    October 14, 2022, with expert discovery to begin shortly thereafter (Dkt. 132).
21    Further, the scheduling order provides for a motion cut off on January 20, 2023,
22    with an anticipated trial date in May 2023.
23            10. The Parties jointly agree that it would serve the interest of justice and
24    conserve party resources to continue the discovery-related deadlines and other
25    deadlines to enable new counsel to join the case prior to completing depositions and
26    to move the expert-discovery deadlines.
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 1             11. The Parties have met and conferred regarding this Stipulation and all
 2    Parties stipulate and agree to the following proposed deadlines:
 3
                                          Current                  Proposed Stipulation
 4     Event                              Deadline/Date            Deadline/Date
 5
       Fact Discovery Cut-Off             October 14, 2022         November 28, 2022
 6

 7
       Settlement Conference              October 17, 2022         December 1, 2022

 8     Opening Expert Designation         October 28, 2022         December 12, 2022
 9
       Rebuttal Expert Designation        November 28, 2022        January 12, 2023
10

11     Expert Discovery Cut-Off           December 30, 2022        February 13, 2023
12     Dispositive Motion Cut-Off         January 20, 2023         April 7, 2023
13
       Anticipated     Hearing        on March, 2023               May, 2023
14     Dispositive Motions
15
       Trial                              May, 2023                July, 2023
16

17
      DATED: September 19, 2022          ZBS LAW, LLP
18

19                                                  /s/Magdalena D. Kozinska
                                         By:
20                                           Bradford E. Klein
                                             Magdalena D. Kozinska
21                                       Attorneys for Defendants
                                         RECOVCO MORTGAGE MANAGEMENT,
22                                       LLC; PLANET HOME LENDING, LLC; and
                                         SPROUT MORTGAGE ASSET TRUST
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 1    DATED: September 19, 2022         SHAPERO LAW FIRM
 2
                                                   /s/Sarah Shapero
 3                                      By:
                                            Sarah Shapero
 4                                      Attorneys for Plaintiff
                                        VAHE TASHJIAN
 5

 6

 7    DATED: September 19, 2022         YU | MOHANDESI LLP
 8
                                                   /s/Sara Stratton
 9                                      By:
                                            Sara Stratton
10                                      Attorneys for Defendants
                                        SPECIALIZED LOAN SERVICING LLC
11

12

13    DATED: September 19, 2022         KLINEDINST PC

14
                                                /s/ Christine E. Howson
15                                      By:
                                            Ian A. Rambarran
16                                          Christine E. Howson
                                        Attorneys for Defendants
17                                      NEWREZ LLC FKA NEW PENN
                                        FINANCIAL LLC DBA SHELLPOINT
18                                      MORTGAGE SERVICING; AND INVICTUS
                                        RESIDENTIAL POOLER TRUST 2A
19

20

21
      DATED: September 19, 2022         GHIDOTTI BERGER LLP
22

23                                            /s/Rachel Wichter
                                        By:
24                                          Rachel Wichter
                                        Attorneys for Defendant
25                                      PRESTIGE DEFAULT SERVICES, LLC
26

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                                       PROOF OF SERVICE
 1

 2           I am over the age of eighteen years and not a party to the within action. I am
      employed by ZBS LAW, LLP, whose business address is: 30 Corporate Park, Suite
 3    450, Irvine, CA 92606.
 4        On September 19, 2022, I served the within document(s) described as:
      JOINT STIPULATION TO CONTINUE OCTOBER 14, 2022 DISCOVERY
 5    CUTOFF AND OTHER DEADLINES on the interested parties in this action:
 6           by serving electronically via CM/ECF as indicated below, to the email
             addresses
 7             addressed as follows: addressed as stated on the attached mailing list.

 8
                                 [SEE ATTACHED SERVICE LIST]
             CM/ECF (U.S. District Court, Southern District of California, Local Civil
 9           Rule 5.4c)—The NEF that is automatically generated by the Court’s Electronic
             Filing System constitutes service of the filed document(s) on registered users.
10           All parties who are not registered, if any, were served in the manner set forth
             above.
11
             (Federal) I declare that I am employed in the office of a member of the bar of
12           this Court at whose direction the service was made.
13            Executed on September 19, 2022, at Irvine, California.
14
                                                     /s/Kimberly A. Bowers
15                                                   KIMBERLY A. BOWERS

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                                           SERVICE LIST
 1

 2              Name & Contact Information                           Role
        Sarah Elizabeth Shapero                         Attorneys for Plaintiff,
 3      Shapero Law Firm                                VAHE TASHJIAN
        One Market Street, Spear Tower, 36th Floor
 4      San Francisco, CA 94105
 5      Tel:             (415) 293-7995
        Email:           sarah@shaperolawfirm.com
 6
        William Joseph Idleman                          Attorneys for Defendants,
 7      Scheer Law Group, LLP                           INVICTUS RESIDENTIAL
        155 N. Redwood Drive, Suite 100                 POOLER-2A, NEW PENN
 8      San Rafael, CA 94903                            FINANCIAL LLC AND
                                                        SPECIALZIED LOAN
 9      Tel:             (415) 491-8900                 SERVICING LLC
        Email:           wildeman@scheerlawgroup.com
10

11      Pavel Ekmekchyan                                Attorneys for Defendant,
        Sara Stratton                                   INVICTUS RESIDENTIAL
12      Yu Mohandesi LLP                                POOLER-2A, NEW PENN
        633 West Fifth Street, Suite 2800               FINANCIAL LLC AND
13      Los Angeles, CA 90067                           SPECIALZIED LOAN
                                                        SERVICING LLC
14      Tel:             (
                         (213)
                             ) 985-2007
        Email:           pavel@yumollp.com
                         p    @y     p m
15                       sara@yumollp.com

16      Katelyn Burnett                                 Attorneys for Defendant,
        Rachel C. Witcher                               PRESTIGE DEFAULT
17      Ghidotti Berger LLP                             SERVICES, LLC
        1920 Old Tustin Avenue
18      Santa Ana, CA 92705
19      Tel:             (949) 427-2010
        Fax:             (949) 427-2732
20      Email:           kburnett@ghidottiberger.com

21      Ian Rambarran                                   Attorneys for Defendants
        Christine Elizabeth Howson                      NEWREZ LLC FKA NEW
22      Klinedinst                                      PENN FINANCIAL LLC
        2 Park Plaza, Suite 1250                        DBA SHELLPOINT
23      Irvine, CA 92614                                MORTGAGE SERVICING;
                                                        AND INVICTUS
24
        Tel:             (949) 868-2600                 RESIDENTIAL POOLER
        Direct:          (949) 868-2584                 TRUST 2A
        Email:           Irambarran@klinedinstlaw.com
25                       Chowson@klinedinstlaw.com
26

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            JOINT STIPULATION TO CONTINUE AUGUST 15, 2022 DISCOVERY CUTOFF AND OTHER
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